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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR       BROWN RUDNICK LLP
  9004-1(b)                                   David J. Molton, Esq.
                                              Robert J. Stark, Esq.
  GENOVA BURNS LLC                            Michael S. Winograd, Esq.
  Daniel M. Stolz, Esq.                       dmolton@brownrudnick.com
  Donald W. Clarke, Esq.                      rstark@brownrudnick.com
  Matthew I.W. Baker, Esq.                    mwinograd@brownrudnick.com
  dstolz@genovaburns.com                      Seven Times Square
  dclarke@genovaburns.com                     New York, NY 10036
  mbaker@genovaburns.com                      Tel: (212) 209-4800
  110 Allen Road, Suite 304                   Fax: (212) 209-4801
  Basking Ridge, NJ 07920
  Tel: (973) 467-2700                         and
  Fax: (973) 467-8126
  Local Counsel for the                       Jeffrey L. Jonas, Esq.
  Official Committee of Talc Claimants        Sunni P. Beville, Esq.
                                              jjonas@brownrudnick.com
                                              sbeville@brownrudnick.com
                                              One Financial Center
                                              Boston, MA 02111
                                              Tel: (617) 856-8200
                                              Fax: (617) 856-8201
                                              Co-Counsel for the
                                              Official Committee of Talc Claimants

  BAILEY GLASSER LLP                          OTTERBOURG PC
  Brian A. Glasser, Esq.                      Melanie L. Cyganowski, Esq.
  Thomas B. Bennett, Esq.                     Adam C. Silverstein, Esq.
  Kevin W. Barrett, Esq.                      Jennifer S. Feeney, Esq.
  Maggie B. Burrus, Esq.                      mcyganowski@otterbourg.com
  bglasser@baileyglasser.com                  asilverstein@otterbourg.com
  tbennett@baileyglasser.com                  jfeeney@otterbourg.com
  kbarrett@baileyglasser.com                  230 Park Avenue
  mburrus@baileyglasser.com                   New York, NY 10169
  1055 Thomas Jefferson St. NW, Suite 540     Tel: (212) 905-3628
  Washington, DC 20007                        Fax: (212) 682-6104
  Tel: (202) 463-2101                         Co-Counsel for the
  Fax: (202) 463-2103                         Official Committee of Talc Claimants
  Co-Counsel for the
  Official Committee of Talc Claimants




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     PARKINS LEE & RUBIO LLP                                MASSEY & GAIL LLP
     Lenard M. Parkins, Esq.                                Jonathan S. Massey, Esq.
     Charles M. Rubio, Esq.                                 Rachel S. Morse, Esq.
     lparkins@parkinslee.com                                jmassey@masseygail.com
     crubio@parkinslee.com                                  rmorse@masseygail.com
     Pennzoil Place                                         100 Main Ave. SW, Suite 450
     700 Milan St., Suite 1300                              Washington, DC 20024
     Houston, TX 77002                                      Tel: (202) 652-4511
     Tel: (713) 715-1666                                    Fax: (312) 379-0467
     Special Counsel for the                                Special Counsel for the
     Official Committee of Talc Claimants                   Official Committee of Talc Claimants


     In Re:                                                 Chapter 11

     LTL MANAGEMENT, LLC,1                                  Case No.: 21-30589 (MBK)

                             Debtor.                        Honorable Michael B. Kaplan


     MODIFIED LOCAL FORM CERTIFICATION OF NO OBJECTION REGARDING
     MONTHLY FEE STATEMENT OF MASSEY & GAIL LLP, CO-COUNSEL TO THE
       OFFICIAL COMMITTEE OF TALC CLAIMANTS, FOR THE PERIOD OF
          APRIL 1, 2022 THROUGH APRIL 30, 2022, DOCUMENT NO. 2378

              The Court authorized, under D.N.J. LBR 2016-3(a), the Order Establishing Procedures for

 Interim Compensation and Reimbursement of Retained Professionals [Dkt. No. 761] and Order

 Modifying Order Establishing Procedures for Interim Compensation and Reimbursement of

 Retained Professionals [Dkt. No. 870] (Dkt. Nos. 761 and 870 together, the “Interim

 Compensation Procedures Order”), compensation to professionals monthly. Under the Interim

 Compensation Procedures Order, objections to the April Monthly Fee Statement filed and served

 on May 31, 2022 [Dkt. No. 2378], were to be filed and served not later than June 15, 2022.

              I, Daniel M. Stolz, Esq., certify that, as of June 15, 2022, I have reviewed the Court’s

 docket in this case and no answer, objection, or other responsive pleading to the above Monthly



 1
   The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
 Street, New Brunswick, New Jersey 08933.




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 Fee Statement has been filed. Pursuant to D.N.J. LBR 2016-3, payment shall be made to the

 applicant upon the filing of this Certification.



 Date: June 15, 2022                                Respectfully submitted,


                                                    /s/ Daniel M. Stolz
                                                    Daniel M. Stolz




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